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 8                               UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       No. 2:05-cr-0243 WBS CKD P
12                     Respondent,
13          v.                                       ORDER
14   JARVIS MARQUEZ TUBBS,
15                     Movant.
16

17          Movant is a federal prisoner proceeding with a 28 U.S.C. § 2255 motion. On September

18   22, 2016, movant filed a pro se motion for leave to file a third amended § 2255 motion, and the

19   proposed motion, despite the fact that movant is represented by counsel. Good cause appearing,

20   IT IS HEREBY ORDERED that movant’s motion for leave to file a third amended § 2255 motion

21   (ECF No. 212) is denied without prejudice to refiling by movant’s counsel, and the proposed third

22   amended motion (ECF No. 213) is stricken.

23   Dated: October 3, 2016
                                                    _____________________________________
24
                                                    CAROLYN K. DELANEY
25                                                  UNITED STATES MAGISTRATE JUDGE

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